Filed 01/14/16                                       Case 15-14228                                                Doc 54



                 1   Michael H. Meyer, Esq. #82336
                     Chapter 13 Trustee
                 2   Deanna K. Hazelton #202821
                     Senior Staff Attorney
                 3   Sarah R. Velasco #255873
                     Staff Attorney
                 4   P.O. Box 28950
                     Fresno, CA 93729-8950
                 5   Tel (559) 275-9512
                     Fax (559) 275-9518
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                 7
                                               UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF CALIFORNIA
                 8

                 9
                     In re:                                             )   Case No.: 15-14228-B-13F
             10                                                         )
                     Oscar Gutierrez                                    )   DC NO. MHM-1
             11
                                                                        )
                                                                        )   CHAPTER 13
             12
                                                                        )
                                                Debtor.                 )   WITHDRAWAL OF CHAPTER 13
             13
                                                                        )   TRUSTEE’S MOTION FOR ORDER
                                                                        )   OF DISMISSAL PURSUANT TO
             14
                                                                        )   11 U.S.C. §1307
                                                                        )
             15
                                                                        )   DATE: January 28, 2016
                                                                        )   TIME: 1:30 PM
             16
                                                                        )
                                                                        )   PLACE: U.S. Courthouse
             17
                                                                        )          5th Floor
                                                                        )          2500 Tulare Street
             18
                                                                        )          Fresno, Ca 93721
                                                                        )
             19
                                                                        )   JUDGE: Hon. Rene Lastreto II

             20

             21      TO THE DEBTOR, HIS ATTORNEY AND INTERESTED PARTIES:
             22               YOU AND EACH OF YOU are hereby notified that the Chapter 13 Trustee’s Motion for
             23      Order of Dismissal Pursuant to 11 U.S.C. §1307, set for hearing on January 28, 2016, is hereby
             24      withdrawn.
             25

             26      Dated: January 14, 2016
             27                                                Respectfully submitted,
             28                                                /s/ MICHAEL H. MEYER
                                                              MICHAEL H. MEYER
                                                              Chapter 13 Trustee

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